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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,


               Defendant.



                     GOVERNMENT’S RESPONSE TO DEFENDANT
                    PAUL J. MANAFORT, JR.’S MOTIONS IN LIMINE

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby responds to the four motions in limine filed by defendant Paul J. Manafort, Jr. (Manafort),

in which he moves to preclude: (1) evidence or argument concerning Manafort’s or the Donald J.

Trump presidential campaign’s alleged collusion with the Russian Government (as well as

Manafort’s work for the campaign); (2) evidence or argument concerning the charges filed against

the Manafort in United States v. Manafort, No. 1:18-cr-83 (TSE) (E.D. Va.); (3) evidence or

argument regarding the defendant’s remand; and (4) evidence obtained from Manafort’s FARA

attorney. See Doc. 343.

       The government has limited objections to Manafort’s first and second motions, no

objection to his third motion, and objections to Manafort’s fourth motion in limine. 1




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          The government’s response presumes that any restrictions imposed pursuant Manafort’s
motions in limine would be imposed on both parties. The government also reserves the right to
present evidence on any precluded subject if Manafort opens the door at trial to such evidence.
For example, depending on how the defense were to cross-examine a witness such as Richard
Gates, it could open the door to information that would otherwise be precluded under Manafort’s
motion. The government will apply to the Court prior to attempting to introduce such evidence.
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I.     First Motion In Limine

       Manafort’s first motion seeks to preclude evidence or argument on two subjects: collusion

with the Russian government, and Manafort’s role in the Trump campaign. The government does

not intend to present in its case-in-chief evidence or argument concerning collusion with the

Russian government and, accordingly, does not oppose Manafort’s motion in that respect.

       Manafort’s role in the Trump campaign, however, is relevant to the false-statement

offenses charged in Counts 4 and 5 of the indictment. Indeed, Manafort’s position as chairman of

the Trump campaign and his incentive to keep that position are relevant to his strong interest in

distancing himself from former Ukrainian President Yanukovych, the subject of the false

statements that he then reiterated to his FARA attorney to convey to the Department of Justice. In

particular, the press reports described in paragraphs 26 and 27 of the indictment prompted

Manafort and Gates to develop their scheme to conceal their lobbying. Dkt. 318 ¶¶ 26-27.

       For example, on August 15, 2016, a member of the press e-mailed Manafort and copied a

spokesperson for the Trump campaign to solicit a comment for a forthcoming story describing his

lobbying. Gates corresponded with Manafort about this outreach and explained that he “provided”

the journalist “information on background and then agreed that we would provide these answers

to his questions on record.” He then proposed a series of answers to the journalist’s questions and

asked Manafort to “review the below and let me know if anything else is needed,” to which

Manafort replied, in part, “These answers look fine.” Gates sent a materially identical message to

one of the principals of Company B approximately an hour later and “per our conversation.” The

proposed answers Gates conveyed to Manafort, the press, and Company B are those excerpted in

the indictment in paragraph 26.




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       An article by this member of the press associating Manafort with undisclosed lobbying on

behalf of Ukraine was published shortly after Gates circulated the Manafort-approved false

narrative to Company B and the member of the press. Manafort, Gates, and an associate of

Manafort’s corresponded about how to respond to this article, including the publication of an

article to “punch back” that contended that Manafort had in fact pushed President Yanukovych to

join the European Union. Gates responded to the punch-back article that “[w]e need to get this

out to as many places as possible. I will see if I can get it to some people,” and Manafort thanked

the author by writing “I love you! Thank you.” Manafort resigned his position as chairman of the

Trump campaign within days of the press article disclosing his lobbying for Ukraine.

       Manafort’s role with the Trump campaign is thus relevant to his motive for undertaking

the charged scheme to conceal his lobbying activities on behalf of Ukraine. Here, it would be

difficult for the jury to understand why Manafort and Gates began crafting and disseminating a

false story regarding their Ukrainian lobbying work nearly two years after that work ceased—but

before any inquiry by the FARA Unit—without being made aware of the reason why public

scrutiny of Manafort’s work intensified in mid-2016.          Nor would Manafort’s motives for

continuing to convey that false information to the FARA Unit make sense: having disseminated a

false narrative to the press while his position on the Trump campaign was in peril, Manafort either

had to admit these falsehoods publicly or continue telling the lie.

       Manafort asserts that any probative value of these facts is substantially outweighed by the

risk of unfair prejudice because many jurors “likely have strong views about President Trump.”

Doc. 343 at 3. But he does not articulate how “strong views” about the President (which they by

definition could put aside or they would not be sitting as jurors) are prejudicial. He also does not

explain why a limiting instruction—which could inform the jury that it should consider Manafort’s



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campaign position only on the question of motive—would be insufficient to address the possibility

of prejudice. See Fed. R. Evid. 403 adv. comm. note (courts deciding “whether to exclude on

grounds of unfair prejudice” should consider “the probable effectiveness or lack of effectiveness

of a limiting instruction”). Any risk of prejudice would be further reduced by the limited use to

be made of the evidence; indeed, the government does not intend to elicit the reasons for

Manafort’s leaving the campaign (e.g., the allegations regarding “black ledger” payments) or

suggest that his resignation was not voluntary.

       Courts have routinely recognized that the Federal Rule of Evidence 403 analysis should

include “balanc[ing] between relevance and prejudice and the alternatives available for the

substitution of less prejudicial proof.” United States v. Long, 574 F.2d 761, 770 (3d Cir. 1978)

(Adams, J., concurring); see Old Chief v. United States, 519 U.S. 172, 182-84 (1997) (when

balancing under Rule 403, the Court should “evaluate the degrees of probative value and unfair

prejudice not only for the item in question but for any actually available substitutes as well”); see

also See Fed. Rule Evid. 403 adv. comm. note (when a court considers “whether to exclude on

grounds of unfair prejudice,” the “availability of other means of proof may . . . be an appropriate

factor”). Here, the probative value of the evidence, the absence of an equivalent alternative for

establishing motive to lie to the FARA Unit, and the likely effectiveness of a limiting instruction

tilt the Rule 403 balance in favor of admission. To the extent that Manafort’s first motion in limine

would preclude admission of this motive evidence, that motion should therefore be denied.

II.    Second Motion In Limine

       Manafort’s second motion makes multiple requests: to preclude evidence or argument

about the charges brought in the Eastern District of Virginia. As for precluding any reference to




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the charges brought in the Eastern District of Virginia themselves, the government does not intend

to reference the charges.

       The request to preclude any “evidence and arguments concerning the E.D.V.A. case” (Doc.

343 at 4), however, is overbroad, since evidence relevant to some of the charges in the Eastern

District of Virginia is also relevant to the offenses charged—including overt acts charged—in the

District of Columbia. Contrary to Manafort’s characterization, there is substantial overlap between

the evidence in District of Columbia case and the Eastern District of Virginia case.            The

Superseding Indictment here alleges a conspiracy that encompasses tax fraud that overlaps with

the substantive tax charges in the Eastern District of Virginia. Specifically, the conspiracy charge

in Count 1 references defrauding the Department of Treasury and Manafort’s failure to file foreign

bank account reports or to disclose them in his tax filings. That charge overlaps with Counts 1

through 5 and Counts 11 through 14 of the Virginia indictment. And, indeed, the overseas entities

and wires identified in the Superseding Indictment here overlap substantially with those described

in the Virginia indictment. Compare Superseding Indictment ¶¶ 11-18 (identifying overseas

entities, wires, and overseas accounts) (Doc. 318), with Superseding Indictment ¶¶ 12-18, United

States v. Manafort, No. 1:18-cr-83 (TSE) (E.D. Va.) (Doc. 9).

       To the extent that Manafort’s second motion in limine would preclude the government from

introducing evidence relevant to the District of Columbia prosecution just because it was also

relevant to the Virginia case, the motion should be denied.

III.   Fourth Motion In Limine

       The final motion seeks to exclude all evidence provided by Manafort’s FARA attorney on

the ground that the evidence “is privileged attorney-client and work product information.”

Doc. 343 at 6.    Manafort acknowledges that, in pre-indictment proceedings addressing his



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attorney’s challenge to a grand jury subpoena, Chief Judge Howell held that the attorney could be

required to answer seven specific questions because, inter alia, the government made a prima facie

showing that the crime-fraud exception applies to Manafort’s communications with the attorney.

See In re Grand Jury Investigation, No. 17-mc-2336, 2017 WL 4898143 (D.D.C. Oct. 2, 2017)

(further concluding that privilege was waived or inapplicable as to some areas, and that work-

product protection was overcome as to others). Manafort suggests, however, that this Court should

hold a “sealed” hearing to revisit those determinations because he did not receive unredacted

versions of Chief Judge Howell’s opinion or the underlying pleadings, and he is therefore “unable

to determine the exact nature of th[e attorney’s] testimony and cannot fully brief his objections to

its possible introduction at trial.” Doc. 343 at 6-7.

       To be clear, the government does not take the position that Manafort is categorically

precluded from reasserting his claim of privilege before this Court. But to justify such relitigation,

Manafort must come forward with some basis for this Court to question the considered

determinations reached by Chief Judge Howell in her 37-page opinion. And neither of the grounds

that Manafort gives in his motion provides a sufficient reason for doing so.

       First, Manafort suggests (Doc. 343 at 6) that he cannot make an informed challenge to the

Chief Judge’s rulings because some portions of the pre-indictment litigation were ex parte.

Manafort participated in that litigation as the privilege holder, was afforded an opportunity to

present argument and evidence (he declined the latter invitation), and received a copy of the Chief

Judge’s decision in an opinion that was partially redacted to protect the content of an ongoing

grand-jury investigation but that amply disclosed the legal basis for compelling the attorney’s

testimony. In re Grand Jury Investigation, 2017 WL 4898143. Since then, moreover, Manafort

has been provided a full, unredacted version of the opinion and the government’s filings in the



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crime-fraud litigation. See Dkt. 282 (Gov’t Opp’n to Bill of Particulars) at 7 (explaining that “the

government has produced to Manafort an unredacted version of its in camera factual submissions

to the Chief Judge, relevant transcripts from those proceedings, and an unredacted version of the

Chief Judge’s memorandum opinion (which the Chief Judge ordered unsealed at the government’s

request)”). Manafort therefore cannot attribute his failure to any identify any error of fact or law

in Chief Judge Howell’s decision to the ex parte aspects of the privilege litigation.

       Manafort also argues that, because the government has not disclosed to him the substance

of the attorney’s interview, he “is unable to determine the exact nature of th[e] testimony and

cannot fully brief his objections.” Doc. 343 at 6-7 & n.3. That argument fails to acknowledge that

Chief Judge Howell’s opinion set the precise parameters of the questions that the government was

authorized to ask the FARA attorney. Concretely, the opinion allowed the government to pose

seven specific questions. In re Grand Jury Investigation, 2017 WL 4898143, at *6; see id. at *15

(concluding that the government “may pose to the Witness the first six and eighth proposed

questions,” but not the seventh, because it “seeks opinion work product” and the government had

“not made the extraordinary showing necessary to justify posing it”). 2 Manafort has therefore long

known what the government asked his lawyer. And based on that knowledge, he has long been

able to argue that the information sought by those questions was privileged or not subject to the




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         Manafort calls it “puzzling” (Doc. 343 at 6 n.3) that the attorney answered the questions—
actually, a subset of the approved questions—in an interview with the government rather than in
front of the grand jury. But the government informed Manafort at the time that it would be
proceeding by interview, and he voiced no objection to that procedure. Moreover, witnesses under
grand jury subpoena are often relieved of their subpoena obligations after they are interviewed, a
forum that is particularly appropriate where attorney-client privilege issues could arise. And the
decision to proceed by interview here has not affected the defense’s access to the witness’s
statements. See 18 U.S.C. § 3500(e) (providing the same disclosure requirements for a testifying
witness’s statement, whether it was made to the grand jury or recorded by the government in
another manner).
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crime-fraud exception and that Chief Judge Howell erred in concluding otherwise. Yet he has

presented no substantive argument to that effect before this Court. The specific answers the

attorney gave are irrelevant to the legal issue, and this motion should not be a vehicle for pretrial

discovery about what the attorney told the government in response to proper questions.

                                               ***

       In sum, Manafort has presented no substantive claim of error in Chief Judge Howell’s pre-

indictment privilege rulings despite receiving—in some instances months ago—fully unredacted

versions of the relevant papers from the privilege litigation. To the extent he seeks a hearing to

relitigate the privilege issues, Manafort was required to come forward with evidence supporting

his bare assertion that his lawyer’s testimony “is privileged attorney-client and work product

information,” Doc. 343 at 6, notwithstanding the Chief Judge’s considered opinion to the contrary.

Because he has failed to do so, his fourth motion in limine should be denied.

                                         CONCLUSION

       With respect to Manafort’s first motion in limine, the government objects to being

precluded from raising Manafort’s role in the Trump campaign insofar as it is relevant to proving

the false-statement offenses in Counts 4 and 5. As for the second motion in limine, the government

respectfully requests that the Court deny the motion insofar as it would preclude evidence relevant

to the conspiracies charged in Counts 1 and 2. As for the defendant’s fourth motion in limine, the

government respectfully requests that the Court deny the defendant’s motion.




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                                           Respectfully submitted,

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Dated: July 23, 2018                       /s/ Andrew Weissmann
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